                                   Case: 20-13664               Doc: 1        Filed: 11/17/20             Page: 1 of 10


Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF OKLAHOMA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Canaan Resources, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  6301 Waterford Blvd.
                                  Suite 215
                                  Oklahoma City, OK 73118
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Oklahoma                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                       Case: 20-13664              Doc: 1          Filed: 11/17/20               Page: 2 of 10
Debtor    Canaan Resources, LLC                                                                        Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known


Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                    Case: 20-13664                Doc: 1         Filed: 11/17/20              Page: 3 of 10
Debtor   Canaan Resources, LLC                                                                      Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                          preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                          A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or           No
    have possession of any
    real property or personal                 Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                     Yes.
    property that needs
    immediate attention?                      Why does the property need immediate attention? (Check all that apply.)
                                                 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                What is the hazard?
                                                 It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                 Other
                                              Where is the property?
                                                                               Number, Street, City, State & ZIP Code
                                              Is the property insured?
                                                 No
                                                 Yes.    Insurance agency
                                                         Contact name
                                                         Phone



         Statistical and administrative information

13. Debtor's estimation of      .          Check one:
    available funds
                                              Funds will be available for distribution to unsecured creditors.
                                              After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of              1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                         5001-10,000                                 50,001-100,000
                                     50-99
                                     100-199                                          10,001-25,000                               More than100,000
                                     200-999

15. Estimated Assets                 $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                     $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities            $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                     $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                  Case: 20-13664                Doc: 1          Filed: 11/17/20               Page: 4 of 10
Debtor    Canaan Resources, LLC                                                                    Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      November 17, 2020
                                                  MM / DD / YYYY


                             X   /s/ John Penton                                                          John Penton
                                 Signature of authorized representative of debtor                         Printed name

                                         Mgr of Canaan Nat. Gas Mgt, LLC, Mgr
                                 Title   of Canaan Resources LLC




18. Signature of attorney    X   /s/ Stephen J. Moriarty                                                   Date November 17, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Stephen J. Moriarty 6410
                                 Printed name

                                 Fellers, Snider et al
                                 Firm name

                                 100 N. Broadway, STE 1700
                                 Oklahoma City, OK 73102-8820
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     405-232-0621                  Email address      smoriarty@fellerssnider.com

                                 6410 OK
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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 Fill in this information to identify the case:
 Debtor name Canaan Resources, LLC
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                          Check if this is an
                                                OKLAHOMA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 CALYX ENERGY III,                                                                      Disputed                                                                      $1,052,941.80
 LLC                                                                                    Subject to
 6120 S YALE                                                                            Setoff
 SUITE 1480
 TULSA, OK 74136
 CALYX ENERGY III,                                                                      Disputed                                                                        $321,118.59
 LLC                                                                                    Subject to
 6120 S YALE                                                                            Setoff
 SUITE 1480
 TULSA, OK 74136
 CALYX ENERGY III,                                                                      Disputed                                                                        $251,805.14
 LLC                                                                                    Subject to
 6120 S YALE                                                                            Setoff
 SUITE 1480
 TULSA, OK 74136
 CALYX ENERGY III,                                                                      Disputed                                                                        $242,559.44
 LLC                                                                                    Subject to
 6120 S YALE                                                                            Setoff
 SUITE 1480
 TULSA, OK 74136
 CALYX ENERGY III,                                                                      Disputed                                                                        $117,010.70
 LLC                                                                                    Subject to
 6120 S YALE                                                                            Setoff
 SUITE 1480
 TULSA, OK 74136
 CALYX ENERGY III,                                                                      Disputed                                                                          $91,064.27
 LLC                                                                                    Subject to
 6120 S YALE                                                                            Setoff
 SUITE 1480
 TULSA, OK 74136
 CALYX ENERGY III,                                                                      Disputed                                                                          $65,895.52
 LLC                                                                                    Subject to
 6120 S YALE                                                                            Setoff
 SUITE 1480
 TULSA, OK 74136




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Canaan Resources, LLC                                                                              Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 CALYX ENERGY III,                                                                      Disputed                                                                          $50,599.80
 LLC                                                                                    Subject to
 6120 S YALE                                                                            Setoff
 SUITE 1480
 TULSA, OK 74136
 CALYX ENERGY III,                                                                      Disputed                                                                          $36,806.25
 LLC                                                                                    Subject to
 6120 S YALE                                                                            Setoff
 SUITE 1480
 TULSA, OK 74136
 FOUNDATION                                                                                                                                                               $42,375.11
 ENERGY MGMT,
 LLC
 5057 KELLER
 SPRINGS RD STE
 650
 ADDISON, TX 75001
 FOUNDATION                                                                                                                                                               $34,328.88
 ENERGY MGMT,
 LLC
 5057 KELLER
 SPRINGS RD STE
 650
 ADDISON, TX 75001
 FOUNDATION                                                                                                                                                               $33,167.08
 ENERGY MGMT,
 LLC
 5057 KELLER
 SPRINGS RD STE
 650
 ADDISON, TX 75001
 FOUNDATION                                                                                                                                                               $33,113.40
 ENERGY MGMT,
 LLC
 5057 KELLER
 SPRINGS RD STE
 650
 ADDISON, TX 75001
 FOUNDATION                                                                                                                                                               $32,516.69
 ENERGY MGMT,
 LLC
 5057 KELLER
 SPRINGS RD STE
 650
 ADDISON, TX 75001
 TRINITY                                                                                                                                                                  $34,936.90
 OPERATING (USG),
 LLC
 PO BOX 1188
 HOUSTON, TX
 77251



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Canaan Resources, LLC                                                                              Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 TRINITY                                                                                                                                                                  $46,751.02
 OPERATING (USG),
 LLC
 PO BOX 1188
 HOUSTON, TX
 77251
 TRINITY                                                                                                                                                                  $41,870.89
 OPERATING (USG),
 LLC
 PO BOX 1188
 HOUSTON, TX
 77251
 TRINITY                                                                                                                                                                  $82,627.33
 OPERATING (USG),
 LLC
 PO BOX 1188
 HOUSTON, TX
 77251
 VINSON & ELKINS                                                                                                                                                          $78,607.49
 P.O. BOX 301019
 DALLAS, TX 75303
 VINSON & ELKINS                                                                                                                                                          $75,504.17
 P.O. BOX 301019
 DALLAS, TX 75303




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                                               United States Bankruptcy Court
                                                                     Western District of Oklahoma
 In re      Canaan Resources, LLC                                                                                     Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Canaan Nat Gas Part Parallel Fund IX LP                             2.110266%
 6301 Waterford Blvd                                                 membership
 Suite 215                                                           interest
 Oklahoma City, OK 73118

 Canaan Natural Gas Partners Fund IX LP                              39.075677%
 6301 Waterford Blvd.                                                membership
 Suite 215                                                           interest
 Oklahoma City, OK 73118

 Canaan Parallel Fund IX Subsidiary, LLC                             58.814097%
 6301 Waterford Blvd.                                                membership
 Suite 215                                                           interest
 Oklahoma City, OK 73118


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the Mgr of Canaan Nat. Gas Mgt, LLC, Mgr of Canaan Resources LLC of the corporation named as the debtor in
this case, declare under penalty of perjury that I have read the foregoing List of Equity Security Holders and that it is true
and correct to the best of my information and belief.



 Date November 17, 2020                                                      Signature /s/ John Penton
                                                                                            John Penton

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                     Western District of Oklahoma
 In re      Canaan Resources, LLC                                                                        Case No.
                                                                                   Debtor(s)             Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Mgr of Canaan Nat. Gas Mgt, LLC, Mgr of Canaan Resources LLC of the corporation named as the debtor in this case, hereby

verify that the attached list of creditors is true and correct to the best of my knowledge.




 Date:       November 17, 2020                                          /s/ John Penton
                                                                        John Penton/Mgr of Canaan Nat. Gas Mgt, LLC, Mgr of Canaan
                                                                        Resources LLC
                                                                        Signer/Title




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                                                               United States Bankruptcy Court
                                                                     Western District of Oklahoma
 In re      Canaan Resources, LLC                                                                        Case No.
                                                                                  Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Canaan Resources, LLC in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Canaan Natural Gas Partners Fund IX LP
 6301 Waterford Blvd.
 Suite 215
 Oklahoma City, OK 73118
 Canaan Parallel Fund IX Subsidiary, LLC
 6301 Waterford Blvd.
 Suite 215
 Oklahoma City, OK 73118




    None [Check if applicable]




 November 17, 2020                                                    /s/ Stephen J. Moriarty
 Date                                                                 Stephen J. Moriarty 6410
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for Canaan Resources, LLC
                                                                      Fellers, Snider et al
                                                                      100 N. Broadway, STE 1700
                                                                      Oklahoma City, OK 73102-8820
                                                                      405-232-0621 Fax:405-232-9659
                                                                      smoriarty@fellerssnider.com




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